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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MARYLAND
                                                                         /
                                                        "APPROVED" THIS_____
                                                                     772(176—
 THE DISTRICT OF COLUMBIA and
 THE STATE OF MARYLAND,

                        Plaintiffs,                         PETER J. MESSITTE
                                                            D STATES DISTRICT JUDGE
 V.
                                                  Case No. 8:17-cv-01596 (PJM)
 DONALD J. TRUMP, in his official
 capacity as President of the United States of
 America,

                        Defendant.


  THE PARTIES' JOINT RESPONSE TO THE COURT'S DECEMBER 15, 2017 AND
                       JANUARY 2, 2018 ORDERS

       The parties submit this joint response to the Court's December 15, 2017 and January 2,

2018 orders regarding oral argument. The parties' proposed schedule of speakers and times

allotted for each topic is below. The parties have not allocated any time for amici to present

argument.

  Preliminary remarks-40 minutes
       Plaintiffs (Steven Sullivan): 20 minutes
       Defendant (Brett Shumate): 20 minutes

  Injury in fact (including zone of interests)
           Sovereign and quasi-sovereign interests-1 hour and 50 minutes
               Plaintiffs (Loren AliKhan): 50 minutes
               Defendant (Brett Shumate): 55 minutes
               Plaintiffs (Loren AliKhan): 5 minutes

12:30 p.m.: Break for lunch

            Proprietary interests-1 hour
               Plaintiffs (Loren AliKhan): 25 minutes
               Defendant (Brett Shumate): 30 minutes
               Plaintiffs (Loren AliKhan): 5 minutes
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III & IV. Traceability and redressability-1 hour and 30 minutes
       Plaintiffs (Steven Sullivan): 40 minutes
       Defendant (Brett Shumate): 45 minutes
       Plaintiffs (Steven Sullivan): 5 minutes

V. Closing remarks-30 minutes
      Plaintiffs (Loren AliKhan): 10 minutes
      Defendant (Brett Shumate): 15 minutes
      Plaintiffs (Loren AlilChan): 5 minutes

       The schedule above suggests three changes to the Court's proposed schedule for oral

argument. First, the parties propose that the presentation regarding injury in fact be separated into

two segments: the first would address Plaintiffs' sovereign and quasi-sovereign interests and the

second would address Plaintiffs' proprietary interests. The parties believe that this separation will

allow for a clearer presentation of the issues. Second, the parties suggest presenting argument on

traceability and redressability at the same time. The issues of traceability and redressability are

closely related and presenting argument on them together will reduce repetition. Third, although

the Court contemplates a lunch break beginning at 1 p.m., the parties propose that the lunch break

begin at 12:30 p.m. Doing so will allow argument on Plaintiffs' proprietary interests to be

presented uninterrupted, and the parties would resume argument in the afternoon at the Court's

convenience.

        Additionally, the following attorneys will sit at counsel table:

Plaintiffs:
Loren AliIChan
Deepak Gupta
Patrick Hughes
Sonya Lebsack
Stephanie Litos
Steven Sullivan

Defendant:
Jean Lin
James Powers
Brett Shumate


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Respectfully submitted,

KARL A. RACINE                                          BRIAN E. FROSH
Attorney General for the District of                    Attorney General of Maryland
Columbia
                                                        /s/ Steven M. Sullivan
NATALIE 0. LUDA WAY                                     STEVEN M. SULLIVAN
Chief Deputy Attorney General                           Federal Bar No. 24930
                                                        ssullivan@oag.state.md.us
/s/ Stephanie E. Litos                                  PATRICK B. HUGHES
STEPHANIE E. LITOS                                      Federal Bar No. 19492
Senior Counsel to the Attorney General                  phughes@oag.state.md.us
stephanie.litos@dc.gov                                  Assistant Attorneys General
441 Fourth Street, N.W.                                 200 Saint Paul Place, 20th Floor
Washington D.C. 20001                                   Baltimore, MD 21202
T: (202) 724-6650                                       T: (410) 576-6325
F: (202) 741-0647                                       F: (410) 576-6955


NORMAN L. EISEN                                         JOSEPH M. SELLERS
Federal Bar No. 09460                                   Federal Bar No. 06284
neisen@citizensforethics.org                            jsellers@cohenmilstein.com
NOAH D. BOOKBINDER                                      CHRISTINE E. WEBBER
nbookbinder@citizensforethics.org                       cwebber@cohenmilstein.com
STUART C. MCPHAIL                                       Cohen Milstein Sellers & Toll PLLC
smcphail@citizensforethics.org                          1100 New York Ave., NW
Citizens for Responsibility and Ethics in               Suite 500
Washington                                              Washington, DC 20005
455 Massachusetts Avenue, N.W.                          T: (202) 408-4600
Washington, D.C. 20001                                  F: (202) 408-4699
T: (202) 408-5565
F: (202) 588-5020

DEEPAK GUPTA
deepak@guptawessler.com
JONATHAN E. TAYLOR
Gutpa Wessler PLLC
1900 L Street, N.W.
Washington, D.C. 20009
T: (202) 888-1741

                                       Attorneys for Plaintiffs




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CHAD A. READLER
Acting Assistant Attorney General

BRETT A. SHUMATE
Deputy Assistant Attorney General

JENNIFER D. RICKETTS
Director, Federal Programs Branch

ANTHONY J. COPPOLINO
Deputy Director

/s/ Jean Lin
JEAN LIN
Special Counsel
JAMES R. POWERS
Trial Attorney
U.S. Department of Justice
Civil Division, Federal Programs Branch
20 Massachusetts Ave. NW
Washington, DC 20530
Phone: (202) 514-3716
Fax: (202) 616-8202
Email: jean.lin@usdoj.gov

                                     Attorneys for Defendant



                                 CERTIFICATE OF SERVICE


       I hereby certify that on January 11, 2018, I electronically filed this response with the Clerk

of the Court using the CM/ECF filing system. Notice of this filing will be sent via email to all

parties by operation of the Court's electronic filing system. Parties may access this filing through

the Court's CM/ECF system.


                                                      /s/ Stephanie Litos
                                                      Stephanie Litos




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